           Case 1:15-cv-02185-SCJ Document 9 Filed 11/03/15 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

GWINNETT PLACE MALL GA LLC,

      Plaintiff,
                                                      CIVIL ACTION NO.
vs.
                                                       1:15-cv-02185-SCJ
MALL AT GWINNETT PLACE, LLC also
d/b/a Gwinnett Place and LAKESIDE
BANK a/k/a Lakeside Bancorp, Inc.,

      Defendants.

                      NOTICE OF VOLUNTARY DISMISSAL

      COMES NOW Plaintiff Gwinnett Place Mall GA LLC (“GPMG”) and

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and settlement between all parties

dismisses the above-styled action with prejudice.

      Submitted this 3rd day of November, 2015.

/s/ Griffin B. Bell, III, Esq.
Attorney Bar No. 048050 (GA)
Attorney for Plaintiff
Griffin Bell III, P.C.
309 Sycamore Street
Decatur, Georgia 30030
(404) 458-4086
Email: gbb@gb3pc.com
         Case 1:15-cv-02185-SCJ Document 9 Filed 11/03/15 Page 2 of 2




                          CERTIFICATE OF SERVICE

    I certify that this 3rd day of November, 2015 I served a copy of the foregoing

NOTICE OF VOLUNTARY DISMISSAL on all parties in this action by United

States mail, postage pre-paid, to the following:

Rebecca M. Lamberth                           Vincent J. Tolve, Esq.
Duane Morris LLP                              Lakeside Bank
Suite 2000                                    Operations Center
1075 Peachtree Street NE                      1055 W. Roosevelt Road
Atlanta, GA 30309-3929                        Chicago, IL 60608



/s/ Griffin B. Bell, III, Esq.
Counsel




                                     Page 2 of 2
